904 F.2d 701Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Carl Howard SHIPP, Sr., Plaintiff-Appellant,v.Clarence L. JACKSON;  Donna Ragland;  Larry Huffman;  MaggieWatkins;  Jim Mueller, Defendants-Appellees.
    No. 89-7787.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 7, 1990.Decided:  May 25, 1990.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Jackson L. Kiser, District Judge.  (C/A No. 89-735-R).
      Carl Howard Shipp, Sr., appellant pro se.
      W.D.Va.
      AFFIRMED.
      Before ERVIN, Chief Judge, and CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Carl Howard Shipp, Sr., appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.*   Accordingly, we affirm on the reasoning of the district court.  Shipp v. Jackson, C/A No. 89-735-R (W.D.Va. Sept. 1, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         This case was put in abeyance pending this Court's decision of Kaufhold v. Jackson, where this Court rejected a claim regarding denial of parole based solely on "the serious nature and circumstances of [the prisoner's] crimes."    Kaufhold v. Jackson, No. 89-7539, slip op. at 2-3 (4th Cir.  Apr. 13, 1990) (unpublished)
      
    
    